              Case 2:18-cr-00092-RAJ Document 479 Filed 05/31/22 Page 1 of 5




 1                                                            THE HONORABLE RICHARD A. JONES

 2

 3

 4

 5

 6

 7
                                  UNITED STATES DISTRICT COURT
 8                               WESTERN DISTRICT OF WASHINGTON
                                           AT SEATTLE
 9
         UNITED STATES OF AMERICA,
10
                                   Plaintiff,                Case No. CR18-0092-RAJ
11                   v.
                                                             ROSS HANSEN’S SUPPLEMENTAL
12       BERNARD ROSS HANSEN,                                SENTENCING MEMORANDUM

13                                 Defendant.

14

15           The limited discovery that the government has provided pertaining to Mr. Hansen’s failure

16   to appear suggests that this was an act of foolish desperation. 1 There was no grand plan to leave the

17   country; there were no stockpiles of hidden precious metals; there was no airplane waiting. Instead,

18   it appears that Mr. Hansen simply feared that he might not live to see the end of his prison sentence,

19   and so he panicked in the hours before sentencing, and pursued a few more days of freedom.

20

21

22
     1
       All facts contained in this memorandum are derived from two FD-302 reports provided by the government
23   on the day this memorandum was due to be filed, May 31, 2022. The defense has not had an opportunity to
     investigate the accuracy of those reports and relies on them here without admitting to them. The defense
     reserves the right to contest any of the facts in those reports.
24

     BERNARD ROSS HANSEN’S                                                                 LAW OFFICES
                                                                                       CALFO EAKES LLP
     SUPPLEMENTAL SENTENCING MEMORANDUM                                         1301 SECOND AVENUE, SUITE 2800
                                                                                  SEATTLE, WASHINGTON 98101
     (Case No. CR18-0092 RAJ) - 1                                              TEL (206) 407-2200 FAX (206) 407-2278
               Case 2:18-cr-00092-RAJ Document 479 Filed 05/31/22 Page 2 of 5




 1           According to the government, Mr. Hansen said that he decided only two hours before his

 2   sentencing hearing not to appear, and that he did so because he “felt that every day he . . . [was] on

 3   the run was one more free day.” 2 Those are the words of a man who—when facing one of the scariest

 4   days of his life and feeling that his health would keep him from ever seeing the outside world again—

 5   made a foolish and reckless decision.

 6           In total, Ross spent eleven days living out of cheap hotels and an old minivan. When caught,

 7   he did not try to run, or fight. He instead told the agents that “he was surprised it took the FBI so

 8   long to find him.” He was cooperative, agreeing to talk with the agents and volunteering to the

 9   agents that there were firearms in the minivan.

10           Foolish as it was, Mr. Hansen’s recent lapse in judgment has not changed the fundamental

11   issues for sentencing in this case. The facts of the underlying offenses certainly have not changed.

12   It remains true that Mr. Hansen was not motivated by personal greed, and that he would have

13   preferred for all his customers to get what they had ordered from him, so that his business would not

14   have collapsed. See Sentencing Mem., Dkt. 453 at 6–7. And it remains true that Mr. Hansen still

15   did not make himself wealthy as the CEO of his multimillion-dollar business, even though it would

16   have been easy for him to have done so. See id. Indeed, the limited discovery the defense has

17   received about Mr. Hansen’s non-appearance supports just how little Mr. Hansen benefitted from

18   the offense. He did not flee in a private plane, or a yacht, but in an 18-year-old Mazda minivan. He

19   did not have a secret stash with hundreds of thousands of dollars of cash. He had less than $1,000

20   in his wallet. And the minivan contained a modest assortment of toiletries, medications, and, based

21   on the limited discovery provided by the government, what appear to have been the last remaining

22

23
     2
      The quotes attributed to Ross Hansen are statements attributed to him in the FD-302 reports, but are likely
     not verbatim, and the quotations to them should not be construed as any sort of admission about what Mr.
     Hansen may or may not have said.
24

     BERNARD ROSS HANSEN’S                                                                    LAW OFFICES
                                                                                          CALFO EAKES LLP
     SUPPLEMENTAL SENTENCING MEMORANDUM                                            1301 SECOND AVENUE, SUITE 2800
                                                                                     SEATTLE, WASHINGTON 98101
     (Case No. CR18-0092 RAJ) - 2                                                 TEL (206) 407-2200 FAX (206) 407-2278
              Case 2:18-cr-00092-RAJ Document 479 Filed 05/31/22 Page 3 of 5




 1   coins and other novelty items and mementos he had from the multimillion-dollar mint he used to

 2   run. He “knew the money wouldn’t last too long,” he told the agents, and that certainly appears to

 3   have been true. It only underscores that this offense was never about enriching Mr. Hansen at the

 4   expense of others.

 5          Mr. Hansen is also still in poor health, and that fact still warrants substantial consideration

 6   by the Court at sentencing. See id. at 7–9. The limited discovery provided by the government does

 7   not suggest that Mr. Hansen is somehow no longer the seriously unhealthy man he was just a few

 8   months ago. Quite the opposite, in fact. The discovery shows that he took medications with him,

 9   asked to use them before being transported to jail, and experienced low blood sugar during the short

10   transportation back to Seattle. His poor health warranted serious consideration before Mr. Hansen

11   failed to appear, and it still warrants serious consideration now.

12          The change in the recommendation by the probation office—increasing the recommended

13   sentence by nearly 50%, from seven to ten years—is simply not warranted. For one, much of the

14   change in probation’s recommendation appears to stem from a perception that Mr. Hansen had a

15   serious plan to live out his days in a quiet coastal community. See, e.g., Probation Rec. at 7 (“Mr.

16   Hansen appears to have believed he was entitled to a ‘quiet life’ on the Washington Coast.”). But

17   the discovery paints a much different picture; it depicts a man who panicked, gathered what little he

18   had left in life, and then lived out only a few days in cheap hotels before getting caught, as he knew

19   he would. He may have said he wished he could live out his days in a coastal community, but as he

20   acknowledged in the interview he did after he was arrested, he did not have the resources nor any

21   realistic plan to do so, and he knew it.

22          Probation also cites to Mr. Hansen’s purported danger to the community in changing its

23   recommendation, but there is no evidence that anyone was in any specific danger from him.

24

     BERNARD ROSS HANSEN’S                                                                LAW OFFICES
                                                                                      CALFO EAKES LLP
     SUPPLEMENTAL SENTENCING MEMORANDUM                                        1301 SECOND AVENUE, SUITE 2800
                                                                                 SEATTLE, WASHINGTON 98101
     (Case No. CR18-0092 RAJ) - 3                                             TEL (206) 407-2200 FAX (206) 407-2278
              Case 2:18-cr-00092-RAJ Document 479 Filed 05/31/22 Page 4 of 5




 1   Although there may have been firearms in the minivan, Mr. Hansen was himself unarmed, even

 2   when walking out in public, knowing the FBI was looking for him. He did not resist arrest, but

 3   instead willingly submitted, without incident, told the agents about the firearms in the minivan, and

 4   then cooperated, telling the agents about what had happened.

 5          Perhaps most problematic is the notion that Mr. Hansen’s decision not to appear somehow

 6   alters how the Court should perceive his health issues. Both probation and the government have

 7   pointed to this as a basis for changing their recommendations, arguing that his decision not to appear

 8   somehow suggests that Mr. Hansen does not really need the medical attention his doctors say he

 9   does. See id. at 8 (“[G]iven Mr. Hansen’s decision to flee and his hope to live an anonymous and

10   quiet life in hiding, we are questioning whether access to immediate healthcare is a significant

11   consideration.”); Gov’t Suppl., Dkt. 476, at 3 (similar). But the facts do not support this change.

12   Mr. Hansen remained within driving distance of his doctors—he only “fled” a few hours from where

13   he had started—and he brought medication with him. And it may well have been his health concerns

14   that led him not to appear in the first place, because he did not think he would live to see the end of

15   his sentence, and so he wanted to live a few more days outside of prison. It was foolish; it was

16   disrespectful to the Court and to probation. But it shows how sincerely he believes that he is in poor

17   health and unlikely to live out his sentence. And it is not a reason to fundamentally alter the Court’s

18   approach to sentencing in this case.

19                                             CONCLUSION

20          The government has provided very limited discovery about Mr. Hansen’s decision not to

21   appear at sentencing. There may yet be mitigating facts unknown to the defense. This, alone, is a

22   reason to tread carefully in assessing the significance of Mr. Hansen’s decision not to appear. Atop

23   of that, however, is the evidence that has been provided suggesting that this was not some calculated,

24

     BERNARD ROSS HANSEN’S                                                                LAW OFFICES
                                                                                      CALFO EAKES LLP
     SUPPLEMENTAL SENTENCING MEMORANDUM                                        1301 SECOND AVENUE, SUITE 2800
                                                                                 SEATTLE, WASHINGTON 98101
     (Case No. CR18-0092 RAJ) - 4                                             TEL (206) 407-2200 FAX (206) 407-2278
              Case 2:18-cr-00092-RAJ Document 479 Filed 05/31/22 Page 5 of 5




 1   serious effort to evade the law, but merely a foolish and desperate act by a man who felt his life was

 2   over. We therefore respectfully submit that the Court should not significantly alter its approach to

 3   sentencing in this case.

 4          DATED this 31st day of May, 2022.

 5                                              CALFO EAKES LLP

 6                                              By         s/ Henry C. Phillips
                                                     Angelo J. Calfo, WSBA #27079
 7                                                   Henry C. Phillips, WSBA #55152
                                                     1301 Second Avenue, Suite 2800
 8                                                   Seattle, WA 98101
                                                     Telephone: (206) 407-2200
 9                                                   Fax: (206) 407-2278
                                                     Email: angeloc@calfoeakes.com
10                                                           henryp@calfoeakes.com

11                                             Attorneys for Defendant Bernard Ross Hansen

12

13

14

15

16

17

18

19

20

21

22

23

24

     BERNARD ROSS HANSEN’S                                                                LAW OFFICES
                                                                                      CALFO EAKES LLP
     SUPPLEMENTAL SENTENCING MEMORANDUM                                        1301 SECOND AVENUE, SUITE 2800
                                                                                 SEATTLE, WASHINGTON 98101
     (Case No. CR18-0092 RAJ) - 5                                             TEL (206) 407-2200 FAX (206) 407-2278
